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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
        Southern
 ____________________               Texas
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                           Check if this is an
                                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



                                                 American Commercial Lines Inc.
1.   Debtor’s name                         ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer             7 5             3 1 7 7 7 9 4
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                    Mailing address, if different from principal place
                                                                                                          of business

                                            1701        E. Market Street
                                           ______________________________________________                 _______________________________________________
                                           Number     Street                                              Number     Street


                                           ______________________________________________                 _______________________________________________
                                                                                                          P.O. Box

                                           Jeffersonville                     IN47130
                                           ______________________________________________                 _______________________________________________
                                           City                        State    ZIP Code                  City                      State      ZIP Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                            Clark
                                           ______________________________________________
                                                                                                          [TBD]
                                                                                                          _______________________________________________
                                           County
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.bargeacbl.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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Debtor             American Commercial Lines Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             5 ___
                                            ___ 5 ___
                                                   1 ___
                                                      1

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                             4/01/22 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                         
                                                         x   A plan is being filed with this petition.

                                                         
                                                         x   Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                           See Rider 1                                                      Affiliate
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               Southern District of Texas
                                                   District _____________________________________________ When                02/07/2020
                                                                                                                             __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor            American Commercial Lines Inc.
               _______________________________________________________                       Case number (if known)_____________________________________
               Name




11.   Why is the case filed in this     Check all that apply:
      district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have        No
      possession of any real             Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                    It needs to be physically secured or protected from the weather.

                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                    Other _______________________________________________________________________________



                                                 Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________         _______     ________________
                                                                           City                                            State       ZIP Code


                                                 Is the property insured?
                                                    No
                                                    Yes. Insurance agency ____________________________________________________________________

                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




             Statistical and administrative information



13.   Debtor’s estimation of            Check one:
      available funds                    Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of                50-99                           5,001-10,000                             50,001-100,000
      creditors                                                          X 10,001-25,000
      (on a consolidated basis
                                         100-199                                                                  More than 100,000
      with all affiliated debtors)       200-999

                                         $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                   $50,001-$100,000                $10,000,001-$50 million                 X $1,000,000,001-$10 billion
                                                                                                                   
      (on a consolidated basis           $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
      with all affiliated debtors)       $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor            American Commercial Lines Inc.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
      (on a consolidated basis           $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
      with all affiliated debtors)
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                        
                                            Executed on _________________
                                                        MM / DD / YYYY


                                            V'DZQ/DQGU\
                                            _____________________________________________               'DZQ/DQGU\
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                    $XWKRUL]HG6LJQDWRU\
                                            Title _________________________________________




18.   Signature of attorney
                                            V-RKQ)+LJJLQV
                                            _____________________________________________              Date            
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                             -RKQ)+LJJLQV
                                            _________________________________________________________________________________________________
                                            Printed name
                                             3RUWHU+HGJHV//3
                                            _________________________________________________________________________________________________
                                            Firm name
                                             0DLQ6WUHHWWK)ORRU
                                            _________________________________________________________________________________________________
                                            Number     Street
                                             +RXVWRQ
                                            ____________________________________________________
                                                                                                            7;             
                                                                                                           ____________ ______________________________
                                            City                                                           State        ZIP Code

                                             
                                            ____________________________________                            MKLJJLQV#SRUWHUKHGJHVFRP
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                             
                                            ______________________________________________________ 7H[DV
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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                                         Rider 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       On the date hereof, each of the affiliated entities listed below (collectively,
the “Debtors”) filed a voluntary petition for relief under chapter 11 of title 11 of the
United States Code in the United States Bankruptcy Court for the Southern District
of Texas. The Debtors have filed a motion requesting that the chapter 11 cases
of these entities be consolidated for procedural purposes only and jointly administered
pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

                                        Company
      Finn Holding Corporation
      ACL I Corporation
      American Commercial Lines Inc.
      Commercial Barge Line Company
      American Commercial Barge Line LLC
      American Commercial Lines International LLC
      ACBL Oldco, LLC
      ACBL Transportation Services LLC
      ACBL River Operations LLC
      Old JB LLC
      ACL Professional Services Inc.
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                                 WRITTEN CONSENT
                           OF THE BOARD OF DIRECTORS OF
                          AMERICAN COMMERCIAL LINES INC.


                                         February 7, 2020

        THE UNDERSIGNED, being all of the members of the Board of Directors (the “Board”)
of American Commercial Lines Inc., a Delaware corporation (the “Company”), hereby consent
that the actions recited herein shall be deemed the actions of the Board with the same effect as if
taken at a duly noticed and called meeting of the Board, and direct that this writing be filed with
the minutes of proceedings of the Board—all pursuant to the provisions of the current Limited
Liability Company Agreement of the Company as of the date set forth below:

       WHEREAS, the Board has reviewed and considered the financial and operational
condition of the Company and the Company’s business on the date hereof, including the historical
and current performance of the Company, the assets and prospects of the Company, the current
and long-term liabilities of the Company, the market for the Company’s assets, and credit market
conditions, and fully considered the strategic alternatives available to the Company; and

        WHEREAS, the Board has received, reviewed and considered the recommendations of
the senior management of the Company and the Company’s legal, financial and other advisors as
to the relative risks and benefits of pursuing a reorganization case under the provisions of chapter
11 of title 11 of the United States Code (the “Bankruptcy Code”); and

        WHEREAS, the Board has determined that taking the actions set forth below are advisable
and in the best interests of the Company and, therefore desires to approve the following resolutions:

       NOW, THEREFORE, BE IT:

   I. Commencement of Chapter 11 Cases

        RESOLVED, that, in the judgment of the Board, it is desirable and in the best interests of
the Company, its creditors, shareholder and other parties in interest that a voluntary petition (the
“Petition”) be filed with the Bankruptcy Court by the Company commencing a case (the “Chapter
11 Case”) under the provisions of the Bankruptcy Code; and it is further

       RESOLVED, that each manager, member, officer, or director of such Company (each, an
“Authorized Person”), in each case, acting singly or jointly, be, and each hereby is, authorized,
empowered, and directed to execute and file in the name and on behalf of Company, to execute,
acknowledge, deliver, and verify the Petition and to cause the same to be filed with the Bankruptcy
Court at such time as such Authorized Person may determine; and it is further

       RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered on behalf of the Company, to execute,
acknowledge, deliver and verify and file any and all petitions, schedules, statements of affairs, lists
and other papers and to take any and all related actions that such Authorized Persons may deem



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necessary or proper in connection with the filing of the Petition and commencement of the Chapter
11 Case; and it is further

       RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered from time to time in the name and on
behalf of the Company, to perform the obligations of the Company under the Bankruptcy Code,
with all such actions to be performed in such manner, and all such certificates, instruments,
guaranties, notices and documents to be executed and delivered in such form, as the Authorized
Person performing or executing the same shall approve, and the performance or execution thereof
by such Authorized Person shall be conclusive evidence of the approval thereof by such
Authorized Person and by the Company; and it is further

        RESOLVED, that the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered from time to time in the name and on
behalf of the Company, to cause the Company to enter into, execute, deliver, certify, file, record
and perform such agreements, instruments, motions, affidavits, applications for approvals or
rulings of governmental or regulatory authorities, certificates or other documents, to pay all
expenses, including filing fees, and to take such other actions, as in the judgment of such
Authorized Persons, shall be necessary, proper and desirable to prosecute to a successful
completion the Chapter 11 Case and to effectuate the restructuring or liquidation of the Company’s
debt, other obligations, organizational form and structure and ownership of the Company, all
consistent with these resolutions and to carry out and put into effect the purposes of these
resolutions, and the transactions contemplated by these resolutions, their authority thereunto to be
evidenced by the taking of such actions; and it is further

   II. Retention of Advisors

       RESOLVED, that the law firm of Milbank LLP, located at 55 Hudson Yards, New York,
NY 10001, is hereby retained as attorneys for the Company Parties in the Chapter 11 Cases, subject
to Bankruptcy Court approval; and be it further

        RESOLVED, that the law firm of Porter Hedges LLP, located at 1000 Main Street, 36th
Floor, Houston, Texas 77002, is hereby retained as local bankruptcy counsel for the Company
Parties in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

        RESOLVED, that Greenhill & Co., LLC, located at 300 Park Avenue, New York, NY
10022, is hereby retained as investment banker for the Company Parties in the Chapter 11 Cases,
subject to Bankruptcy Court approval; and be it further

        RESOLVED, that Alvarez & Marsal North America, LLC, located at 2100 Ross
Avenue, 21st Floor, Dallas, Texas, 75201, is hereby retained as financial advisor for the Company
Parties in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

        RESOLVED, that Prime Clerk LLC, located at One Grand Central Place, 60 East 42nd
Street, Suite 1440, New York, NY 10165, is hereby retained as claims, noticing and solicitation




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agent for the Company Parties in the Chapter 11 Cases, subject to Bankruptcy Court approval; and
be it further

        RESOLVED, that Seward & Kissel LLP, located at One Battery Park Plaza, New York,
NY 10004, is hereby retained as special counsel for the Company Parties in the Chapter 11 Cases,
subject to Bankruptcy Court approval.

   III. Debtor-in-Possession Financing

        RESOLVED, that in connection with the Chapter 11 Case, it is in the best interest of the
Company to engage in, and the Company will obtain benefits from, the lending transactions under
a superpriority senior secured debtor-in-possession credit facility in an aggregate principal amount
of $640,000,000 (the “ABL DIP Financing”) to be evidenced by that certain Senior Secured
Superpriority Debtor-in-Possession Credit Agreement (together with the exhibits and schedules
attached thereto, the “ABL DIP Credit Agreement”) to be entered into by American Commercial
Lines Inc., as Holdings, and Commercial Barge Line Company, American Commercial Barge Line
LLC, ACBL Transportation Services LLC, and ACBL River Operations LLC, as borrowers, Wells
Fargo Capital Finance, LLC, as administrative agent (in such capacity, the “ABL DIP Agent”),
and the lenders from time to time party thereto (the “ABL DIP Lenders”), subject to approval by
the Bankruptcy Court, which is necessary and appropriate to the conduct, promotion, and
attainment of the business of the Companies; and be it further

        RESOLVED, that in connection with the Chapter 11 Case, it is in the best interest of the
Company to engage in, and the Company will obtain benefits from, the lending transactions under
a superpriority senior secured debtor-in-possession credit facility in an aggregate principal amount
of $50,000,000 (the “Term DIP Financing,” and together with the ABL DIP Financing, the “DIP
Financings”) to be evidenced by that certain Senior Secured Superpriority Debtor-in-Possession
Credit Agreement (together with the exhibits and schedules attached thereto, the “Term DIP
Credit Agreement,” and together with the ABL DIP Credit Agreement, the “DIP Credit
Agreements”) to be entered into by American Commercial Lines Inc., as Holdings, and
Commercial Barge Line Company, as borrower, Cortland Capital Market Services, LLC, as
administrative agent and collateral agent (in such capacity, the “Term DIP Agent,” and together
with the ABL DIP Agent, the “DIP Agents”), and the lenders from time to time party thereto (the
“Term DIP Lenders,” and together with the ABL DIP Lenders, the “DIP Lenders”), subject to
approval by the Bankruptcy Court, which is necessary and appropriate to the conduct, promotion,
and attainment of the business of the Companies; and be it further

       RESOLVED, that the form, terms, and provisions of each of any and all of the other
agreements to which the Company is a party, including, without limitation, certificates, documents
and instruments authorized, executed, delivered, reaffirmed, verified and/or filed in connection
with the DIP Financings (together with the DIP Credit Agreements, collectively, the “DIP
Financing Documents”), and the Company’s performance of its respective obligations
thereunder, including any guarantees and the granting of security interests contemplated
thereunder, are hereby, in all respects confirmed, ratified and approved; and be it further




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        RESOLVED, that any Authorized Person is hereby authorized, empowered, and directed,
in the name and on behalf of the Company, to cause the Company to negotiate and approve the
terms, provisions of and performance of, and to prepare, execute and deliver the DIP Financing
Documents to which the Company is a party, in the name and on behalf of the Company under its
corporate seal or otherwise, and such other documents, agreements, instruments, and certificates
as may be required by the DIP Agents or required by the DIP Financing Documents; and be it
further

       RESOLVED, that the Company is authorized to guarantee, as applicable, any obligations
of any party to the DIP Financing Documents and undertake any and all related transactions
contemplated under the DIP Financing Documents, including the granting of security thereunder;
and be it further

        RESOLVED, that any Authorized Person is hereby authorized to grant security interests
in, and liens on, any and all property of the Company as collateral pursuant to the DIP Financing
Documents to secure all of the obligations and liabilities of the Company thereunder and the other
parties to the DIP Financing Documents to the DIP Lenders and the DIP Agents, and to authorize,
execute, verify, file and/or deliver to the DIP Agents, on behalf of the Company, all agreements,
documents and instruments required by the DIP Agents and/or the DIP Lenders in connection with
the foregoing; and be it further

         RESOLVED, that any Authorized Person is hereby authorized, empowered, and directed,
in the name and on behalf of the Company, to take all such further actions, including to pay all
fees and expenses, in accordance with the terms of the DIP Financing Documents, which shall, in
such Authorized Person’s sole judgment, be necessary, proper, or advisable to perform such
Company’s obligations under or in connection with the DIP Financing Documents and the
transactions contemplated therein and to carry out fully the intent of the foregoing resolutions; and
be it further

        RESOLVED, that any Authorized Person is hereby authorized, empowered, and directed,
in the name and on behalf of the Company, to execute and deliver any amendments, supplements,
modifications, renewals, replacements, consolidations, substitutions and extensions of the DIP
Financing Documents, which shall, in such Authorized Person’s sole judgment, be necessary,
desirable, proper or advisable.

   IV. General Authorization and Ratification

        RESOLVED, that, in addition to the specific authorizations heretofore conferred upon the
Authorized Persons, each Authorized Person (and his designees and delegates) be, and hereby is,
authorized and empowered, in the name of and on behalf of the Company, to take or cause to be
taken any and all such other and further action, and to execute, acknowledge, deliver and file any
and all such agreements, certificates, instruments and other documents and to pay all expenses,
including but not limited to filing fees, in each case as in such Authorized Person’s (or his
designees’ or delegates’) judgment, shall be necessary, advisable or desirable in order to fully carry
out the intent and accomplish the purposes of the resolutions adopted herein; and it is further




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                                                                                                43953.00000
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                                             Case 20-30982 Document 1 Filed in TXSB on 02/07/20 Case
Debtor __American Commercial Lines Inc., et al.________________
                                                                                                Page      11 of 18
                                                                                                     number (if known)_____________________________________




      Fill in this information to identify the case:
      Debtor name: American Commercial Lines Inc., et al.,
                                              Southern
      United States Bankruptcy Court for the: District ofDistrict
                                                         [        of Texas
      Case number (If known): ______________                                                                                                                         Check if this is an amended
                                                                                                                                                                      filing

      Official Form 204
      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are
      Not Insiders                                                                           12/15

      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity
      who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among
      the holders of the 30 largest unsecured claims.
        Name of creditor and complete mailing address,          Name, telephone number, and Nature of the claim (for Indicate if claim is Amount of unsecured claim
                         including zip code                    email address of creditor contact example, trade debts,         contingent,      if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                        bank loans,          unliquidated, or If claim is partially secured, fill in total claim amount and
                                                                                                   professional services,        disputed       deduction for value of collateral or setoff to calculate unsecured
                                                                                                     and government                             claim.
                                                                                                         contracts)                                                         Deduction for
                                                                                                                                                     Total claim, if      value of collateral
                                                                                                                                                   partially secured          or setoff            Unsecured claim
    Whayne Supply Co Inc
    Attn: Attn: Chris Coots                                                  Attn: Chris Coots
    Vice President                                                           EMAIL - chris_coots@whayne.com
  1                                                                                                                  Trade Payable                                                                  $       1,315,274
    Dept 8326                                                                PHONE - 502-609-4156
    Carol Stream, IL 60122-8326                                              FAX - 502-423-2759
    United States
    John W Stone Oil Distributor LLC
    Attn: Attn: Tony Odak                                                    Attn: Tony Odak
    COO                                                                      EMAIL - TOdak@stoneoil.com
  2                                                                                                                  Trade Payable                                                                  $       1,236,135
    Dept 322 PO Box 4869                                                     PHONE - 504-915-8150
    Houston, TX 77210-4869                                                   FAX - 504-392-2262
    United States
    Excell Marine Corp
    Attn: Attn: Bruce D. McGinnis                                            Attn: Bruce D. McGinnis
    CEO                                                                      EMAIL - bmcginnis@mcginnisinc.com       Fully Found Charter
  3                                                                                                                                                                                                 $       1,170,862
    PO Box 775770                                                            PHONE - 270-898-1022                    Obligation
    Chicago, IL 60677-5770                                                   FAX - 740-377-9541
    United States
    James Transportation LLC
    Attn: Atn: Barry Gipson
                                                                             Atn: Barry Gipson
    Executive Vice President of Sales & Business Development
                                                                             EMAIL - bgipson@jamesmarine.com         Fully Found Charter
  4 Pnc Bank C/O James Transportation LLC                                                                                                                                                           $       1,093,999
                                                                             PHONE - 270-898-7392                    Obligation
    Lockbox 772907
                                                                             FAX - 270-448-0050
    Itasca, IL 60143
    United States
    Paducah River Service
    Attn: Attn:Barry Gipson
                                                                             Attn:Barry Gipson
    Executive Vice President of Sales & Business Development
                                                                             EMAIL - bgipson@jamesmarine.com
  5 Pnc Bank C/O James Marine Inc                                                                                    Trade Payable                                                                  $       1,082,051
                                                                             PHONE - 270-898-7392
    Lockbox #772942
                                                                             FAX - 270-448-0050
    Itasca, IL 60143
    United States
    Echo Marine Ltd
    Attn: Attn: Rhonda Echols                                                Attn: Rhonda Echols
    President                                                                EMAIL - rhonda@echomarineltd.com        Fully Found Charter
  6                                                                                                                                                                                                 $        568,800
    PO Box 386                                                               PHONE - 281-426-5541                    Obligation
    Highlands, TX 77562                                                      FAX - 281-843-2194
    United States
    Economy Boat Store Wickliffe
    Attn: Attn: David Reynolds                                               Attn: David Reynolds
    Vice President                                                           EMAIL -
  7 C/O Mers LLC                                                             David.Reynolds@pilotthomas.com          Trade Payable                                                                  $        510,173
    PO Box 679421                                                            PHONE - 901-775-8945
    Dallas, TX 75267-9421                                                    FAX - 361-573-6803
    United States
      Turn Services LLC
      2801 Unifirst Dr                                                       EMAIL -                                 Fully Found Charter
  8                                                                                                                                                                                                 $        492,194
      Owensbobo, KY 42301                                                    PHONE -                                 Obligation
      United States                                                          FAX -
    Economy/Stone Mid-Stream Fuel LLC
    Attn: Attn: David Reynolds                                               Attn: David Reynolds
    Vice President                                                           EMAIL -
  9 Dept 476                                                                 David.Reynolds@pilotthomas.com          Trade Payable                                                                  $        474,329
    PO Box 4869                                                              PHONE - 901-775-8945
    Houston, TX 77210-4869                                                   FAX - 361-573-6803
    United States
    Gulf South Marine Brokers Inc
                                                                             Attn: President or General Counsel
    Attn: Attn: President or General Counsel
                                                                             EMAIL -                                 Fully Found Charter
 10 PO Box 10709                                                                                                                                                                                    $        407,921
                                                                             PHONE -                                 Obligation
    New Orleans, LA 70181-0709
                                                                             FAX -
    United States
    Grainger
                                                                             Attn: Randeep Saini
    Attn: Attn: Randeep Saini
                                                                             EMAIL -
 11 925 34Th St                                                                                                      Trade Payable                                                                  $        362,821
                                                                             PHONE -
    Peru, IL 61354
                                                                             FAX -
    United States




Official Form 204                                                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                     page 1
                                        Case 20-30982 Document 1 Filed in TXSB on 02/07/20 Case
Debtor __American Commercial Lines Inc., et al.________________
                                                                                           Page      12 of 18
                                                                                                number (if known)_____________________________________




       Name of creditor and complete mailing address,          Name, telephone number, and Nature of the claim (for Indicate if claim is                Amount of unsecured claim
                     including zip code                       email address of creditor contact example, trade debts,    contingent,                    if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                     bank loans,       unliquidated, or                 If claim is partially secured, fill in total claim amount and
                                                                                                professional services,     disputed                     deduction for value of collateral or setoff to calculate unsecured
                                                                                                  and government                                        claim.
                                                                                                      contracts)                                                                    Deduction for
                                                                                                                                                             Total claim, if      value of collateral
                                                                                                                                                           partially secured            or setoff           Unsecured claim
    Marine Systems Inc
    Attn: D. Lynn Strahan                                    D. Lynn Strahan
    President                                                EMAIL -
 12                                                                                                  Trade Payable                                                                                    $              327,112
    PO Box 301284                                            PHONE - 713-948-3260
    Dallas, TX 75303-1284                                    FAX - 713-378-0208
    United States
    Louis Dreyfus Co LLC
    4800 Main St Suite 600                                   EMAIL -
 13                                                                                                  Trade Payable                                                                                    $              285,072
    Kansas City, MO 64112                                    PHONE -
    United States                                            FAX -
    Callais & Sons
    120 W 108Th St                                           EMAIL -                                 Fully Found Charter
 14                                                                                                                                                                                                   $              261,800
    Cut-Off, LA 70345                                        PHONE -                                 Obligation
    United States                                            FAX -
    Mcginnis Inc
    Attn: Attn: Rick Griffith                                Attn: Rick Griffith
    President                                                EMAIL - rgriffith@mcginnisinc.com
 15                                                                                                  Trade Payable                                                                                    $              254,115
    PO Box 775759                                            PHONE - 740-377-4391
    Chicago, IL 60677-5759                                   FAX - 740-377-9541
    United States
    Economy Boat Store Mers LLC
    Attn: Attn: David Reynolds                               Attn: David Reynolds
    Vice President                                           EMAIL -
 16 C/O Mers LLC                                             David.Reynolds@pilotthomas.com          Trade Payable                                                                                    $              246,389
    PO Box 679421                                            PHONE - 901-775-8945
    Dallas, TX 75267-9421                                    FAX - 361-573-6803
    United States
    Southwest Shipyard LP
    Attn: Attn: Anthony Lujan
                                                             Attn: Anthony Lujan
    Senior VP, Sales & Customer Service
                                                             EMAIL - Anthony.Lujan@swslp.com
 17 Dept 116                                                                                         Trade Payable                                                                                    $              244,639
                                                             PHONE - 713-967-6359
    PO Box 4458
                                                             FAX - 281-860-3215
    Houston, TX 77210-4458
    United States
    Inland Marine
    Po Box 598                                               EMAIL -                                 Fully Found Charter
 18                                                                                                                                                                                                   $              239,412
    Hebron, KY 41048                                         PHONE -                                 Obligation
    United States                                            FAX -
    Archway Fleeting & Harbor Serv
    Po Box 60036                                             EMAIL -
 19                                                                                                  Trade Payable                                                                                    $              238,591
    Los Angeles, CA 90060-0036                               PHONE -
    United States                                            FAX -
    Carline Management Co Inc
    Attn: Lew Parks                                          Lew Parks
    President                                                EMAIL - lew.parks@carlinecompanies.com
 20                                                                                                 Trade Payable                                                                                     $              237,497
    PO Box 1360                                              PHONE - 225-474-5438
    Gonzales, LA 70707-1360                                  FAX - 225-473-6676
    United States
    Marquette Gulf Inland
    Po Box 11407 Dept 1566                                   EMAIL -                                 Fully Found Charter
 21                                                                                                                                                                                                   $              226,200
    Birmingham, AL 35246-1566                                PHONE -                                 Obligation
    United States                                            FAX -
    T T Coatings Inc
                                                             Attn: President or General Counsel
    Attn: Attn: President or General Counsel
                                                             EMAIL -
 22 19368 Highway 36                                                                                 Trade Payable                                                                                    $              225,314
                                                             PHONE -
    Covington, LA 70433-8727
                                                             FAX -
    United States
    Paducah Rigging Inc
    Attn: Attn: Alex Edwards                                 Attn: Alex Edwards
    President & CEO                                          EMAIL - aedwards@paducahrigging.com
 23                                                                                                  Trade Payable                                                                                    $              205,959
    4150 Cairo Rd                                            PHONE - 270-443-386
    Paducah, KY 42001                                        FAX - 270-443-8437
    United States
    Petroleum Service Corporation
    Attn: Attn: Joel Dickerson                               Attn: Joel Dickerson
    CEO                                                      EMAIL -
 24                                                                                                  Trade Payable                                                                                    $              202,493
    PO Box 734873                                            PHONE - 281-991-3500
    Dallas, TX 75373-4873                                    FAX - 281-991-1360
    United States
    Economy Boat Store
    Attn: c/o Pilot Thomas Logistics                         c/o Pilot Thomas Logistics
    Attn: David Reynolds, VP                                 EMAIL -
 25 C/O Mers LLC                                             David.Reynolds@pilotthomas.com          Trade Payable                                                                                    $              182,673
    PO Box 679421                                            PHONE - 901-775-8945
    Dallas, TX 75267-9421                                    FAX - 361-573-6803
    United States
    Terral River Svc Inc
    Attn: Attn: Tom Gattle                                   Attn: Tom Gattle
    President / CEO                                          EMAIL - tomg@terralriverservice.com
 26                                                                                                  Trade Payable                                                                                    $              160,942
    10100 Hwy 65S                                            PHONE - 318-559-1500
    Lake Providence, LA 71254                                FAX - 318-559-1524
    United States




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                                                                                        Page      13 of 18
                                                                                             number (if known)_____________________________________




       Name of creditor and complete mailing address,          Name, telephone number, and Nature of the claim (for Indicate if claim is                Amount of unsecured claim
                     including zip code                       email address of creditor contact example, trade debts,    contingent,                    if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                     bank loans,       unliquidated, or                 If claim is partially secured, fill in total claim amount and
                                                                                                professional services,     disputed                     deduction for value of collateral or setoff to calculate unsecured
                                                                                                  and government                                        claim.
                                                                                                      contracts)                                                                    Deduction for
                                                                                                                                                             Total claim, if      value of collateral
                                                                                                                                                           partially secured            or setoff           Unsecured claim
    C & J Marine Services Inc
                                                             Attn: David Armstrong
    Attn: Attn: David Armstrong
                                                             EMAIL - david.a.armstrong@grainger.com Fully Found Charter
 27 Dept 875223315                                                                                                                                                                                    $              154,414
                                                             PHONE - 314-808-6472                   Obligation
    Palatine, IL 60038-0001
                                                             FAX -
    United States
    Campbell Transportation Co Inc
    PO Box 931696                                            EMAIL -
 28                                                                                                  Trade Payable                                                                                    $              151,792
    Cleveland, OH 44193                                      PHONE -
    United States                                            FAX -
    Brown Water Marine Services
    Po Box 2269                                              EMAIL -
 29                                                                                                  Trade Payable                                                                                    $              147,406
    Rockport, TX 78381                                       PHONE -
    United States                                            FAX -
    Chevron Products Company
    Attn: Attn: Buck Bradberry                               Attn: Buck Bradberry
    Marine Account Manager                                   EMAIL - BUOB@chevron.com
 30                                                                                                  Trade Payable                                                                                    $              144,385
    PO Box 730348                                            PHONE - 505-250-7311
    Dallas, TX 75373-0348                                    FAX -
    United States




Official Form 204                                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                            page 3
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             IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION
                                  §
 In re:                           §   Chapter 11
                                  §
 AMERICAN COMMERCIAL LINES INC.,  §   Case No. [________]
                                  §
                                  §
             Debtor.              §
                                  §

                              LIST OF EQUITY HOLDERS

       Pursuant to Rule 1007 of the Federal Rules of Bankruptcy Procedure, the following

identifies all holders having an equity ownership interest, in the above-captioned debtor in

possession.

        Debtor                   Equity Holder and              Percentage of Equity Held
                                Last Known Address
     American                    ACL I Corporation                        100%
  Commercial Lines
       Inc.                     1701 E. Market Street
                               Jeffersonville, IN 47130




                                                                                      43953.00000
        Case 20-30982 Document 1 Filed in TXSB on 02/07/20 Page 15 of 18



             IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION
                                  §
 In re:                           §   Chapter 11
                                  §
 AMERICAN COMMERCIAL LINES INC.,  §   Case No. [________]
                                  §
                                  §
             Debtor.              §
                                  §



       CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
       TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

       Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, attached hereto

as Exhibit A is an organizational chart reflecting all of the ownership interests in Finn Holding

Corporation (“Finn Holding”) and its affiliated debtors (the “Affiliated Debtors”), as proposed

debtors and debtors in possession (collectively, the “Debtors”). Finn Holding, on behalf of itself

and the Affiliated Debtors, respectfully represents as follows:

   1. Each Debtor listed in Exhibit A is 100% owned by its direct parent unless otherwise noted.

   2. Finn Holding is the ultimate parent company of each of the Affiliated Debtors, and directly

       or indirectly owns a 100% equity interest in each of the Affiliated Debtors.

   3. Equity Ownership of Finn Holding Corporation is represented by:

           a. Class A common stock, 10.7731052% held by Platinum Equity Capital Finn

               Partners I, L.P.;

           b. Class A common stock, 61.927016% held by Platinum Equity Capital Finn Partners

               II, L.P.;

           c. Class A common stock, 11.52% held by Platinum Equity Capital Partners-A II,

               L.P.;




                                                                                            43953.00000
Case 20-30982 Document 1 Filed in TXSB on 02/07/20 Page 16 of 18




  d. Class A common stock, 11.7798788% held by Platinum Equity Capital Partners-

     PF II, L.P.;

  e. Class A common stock, 4% held by Platinum Finn Principals, LLC.
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                                                              Exhibit A

                                                       Organizational Chart


                                                         Finn Holding Corporation



                                                             ACL I Corporation
                                                                   100%


                                                       American Commercial Lines Inc.
                                                                  100%


                                                           Commercial Barge Line
                                                               Company
                                                                 100%



American Commercial         ACBL Transportation            ACBL River Operations                     ACL Professional
                                                                                        Old JB LLC
  Barge Line LLC               Services LLC                         LLC                                Services Inc.
                                                                                          100%
       100%                        100%                            100%                                   100%


American Commercial
                          Bolivar Terminal Co., Inc.           MarineNet LLC
Lines International LLC
                                     50%                           33%
         100%


   ACBL Oldco, LLC             MarineNet LLC
       100%                        33%
                     Case 20-30982 Document 1 Filed in TXSB on 02/07/20 Page 18 of 18


  Fill in this information to identify the case:

                   American Commercial Lines Inc.
  Debtor name __________________________________________________________________
                                                Southern
                                                 Southern
  United States Bankruptcy Court for the: _________                            Texas
                                                                                Texas
                                                    _____________ District of _________
                                                                               (State)
  Case number (If known):   _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



           Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


            Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

            Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

            Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

            Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

            Schedule H: Codebtors (Official Form 206H)

            Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

            Amended Schedule ____


            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                                Consolidated Corporate Ownership Statement and List of Equity Holders
            Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.

                     
        Executed on ______________                              /s/ Dawn Landry
                                                               _________________________________________________________________________
                       MM / DD / YYYY                           Signature of individual signing on behalf of debtor



                                                                 Dawn Landry
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Authorized Signatory
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors
